     Case: 1:15-cv-00600-TSB Doc #: 21 Filed: 10/09/15 Page: 1 of 5 PAGEID #: 374




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

JOHN DOE,                                      : Case No. 1:15-cv-00600

              Plaintiff,                       : Judge Timothy S. Black

v.                                             :
                                                 RESPONSE IN OPPOSITION
UNIVERSITY OF CINCINNATI, et al.,              : TO PLAINTIFF’S MOTION
                                                 FOR EXPEDITED DISCOVERY
              Defendants.
                                               :

                                I.         INTRODUCTION

        Defendants University of Cincinnati, Daniel Cummins, and Debra Merchant

(collectively “Defendants”) submit this response in opposition to Plaintiff’s motion for

expedited discovery (Doc. 4).

                                     II.    ARGUMENT

        “Under Federal Rule of Civil Procedure 26(d)(1), no discovery from any source is

generally permitted prior to a Rule 26 conference. In determining requests to engage in

limited discovery prior to a Rule 26(f) conference, courts apply a ‘good cause standard.’”

Joh n son v. U.S . B an k N at
                             . A ss'n , No. 1:09-CV-492, 2009 WL 4682668, at *1 (S.D. Ohio

Dec. 3, 2009) (citing C ast
                          on v. H oaglin , Civ. No. 2:08–cv–200, 2009 WL 1687927, at

* 2 (S.D. Ohio Jun.12, 2009)). “Good cause may be found where the plaintiff's need for

expedited discovery outweighs the possible prejudice or hardship to the defendant.” Id .

(citing A rist
             a Record s, L L C v. D oes1 – 4 , Civ. 1:07–cv–1115, 2007 WL 4178641, at *2

(E.D. Tenn. Nov. 20, 2007)). “Good cause is often found in cases where there is a

concern that documents or other data will be lost or destroyed.” Id . (citing C ast
                                                                                  on ,

2009 WL 1687927 at *2). “The scope of the discovery request is also relevant to whether




13591233.1
    Case: 1:15-cv-00600-TSB Doc #: 21 Filed: 10/09/15 Page: 2 of 5 PAGEID #: 375




or not good cause exists.” L em kin v. B ell'sP recision Grin d in g, No. CIV.A. 2:08-CV-789,

2009 WL 1542731, at *2 (S.D. Ohio June 2, 2009) (citation omitted).

        Plaintiff has not alleged that he should be entitled to expedited discovery due to

any risk that documents will be lost or destroyed. Rather, Plaintiff seeks access to

certain documents solely because he believes that he needs access to them in order to

prepare for a preliminary injunction hearing. (Doc. 4 at PageID 108-109) “Although

requests for expedited discovery typically arise in connection with a motion for

preliminary injunction, such requests are not automatically granted simply because a

motion for preliminary injunction is pending.” Tw een B ran d sIn v., L L C v. B luest
                                                                                     ar

A llian ce, L L C , No. 2:15-CV-2663, 2015 WL 5139487, at *3 (S.D. Ohio Sept. 1, 2015)

(citing A m erican L egalN et
                            , In c. v. D avis, 673 F.Supp.2d 1063, 1066 (C.D. Cal. 2009)).

        Also, Defendants Daniel Cummins and Debra Merchant have asserted that they

are entitled to qualified immunity from Plaintiff’s claims that they violated his right to

due process. The purpose of the qualified immunity doctrine is “not only to protect

officials from civil damages, but just as importantly, to protect them from the rigors of

litigation itself, including the potential disruptiveness of discovery.” Everson v. L eis,

556 F.3d 484, 491 (6th Cir. 2009) (citing S kousen v. B righ t
                                                             on H igh S ch ., 305 F.3d 520,

526 (6th Cir. 2002)); see alsoA n d erson v. C reigh t
                                                     on , 483 U.S. 635, 646 n. 6 (1987) (A

purpose of qualified immunity is “to protect public officials from the broad-ranging

discovery that can be peculiarly disruptive of effective government.”) (citation and

quotation marks omitted). Qualified immunity is a “threshold question” which a court

must address if “properly raised prior to discovery.” S um m ers, 368 F.3d at 886 (6th Cir.

2004) (citing S kousen , 305 F.3d 520); see alsoH arlow v. Fit
                                                             zgerald , 457 U.S. 800, 818




                                              2
13591233.1
    Case: 1:15-cv-00600-TSB Doc #: 21 Filed: 10/09/15 Page: 3 of 5 PAGEID #: 376




(1982) (“Until this threshold immunity question is resolved, discovery should not be

allowed.”).

        In his motion for expedited discovery, Plaintiff requests three things: (1) “a copy

and transcript of the disciplinary/appeal hearing in this matter”; (2) “the investigative

file”; and (3) “internal correspondence regarding this matter.” (Doc. 4 at PageID 108)

While the first two requests are limited in scope, Plaintiff’s third request is vast, would

require significant review by Defendants for privileged documents prior to production,

and would otherwise violate Defendants Cummins’ and Merchant’s right to have their

entitlement to qualified immunity adjudicated before engaging in such broad discovery.

        As for Plaintiff’s first two requests, the audio recording of the disciplinary hearing

and the investigative file include material protected by the Federal Educational Rights

and Privacy Act, the Health Insurance Portability and Accountability Act, and the

students’ constitutional privacy rights. As such, Defendants request that if ordered by

the Court to produce these items, such production be covered by an appropriate

protective order.




                                              3
13591233.1
    Case: 1:15-cv-00600-TSB Doc #: 21 Filed: 10/09/15 Page: 4 of 5 PAGEID #: 377




                                 III.   CONCLUSION

        For each and all of the foregoing reasons, Defendants request that this Court

deny Plaintiff’s request for expedited discovery or, at a minimum, require that such

discovery be limited to Plaintiff’s narrowed requests and be produced under an

adequate protective order.



                                                 Respectfully submitted,

                                                 MICHAEL DEWINE
                                                 Attorney General of Ohio

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                                             4
13591233.1
    Case: 1:15-cv-00600-TSB Doc #: 21 Filed: 10/09/15 Page: 5 of 5 PAGEID #: 378




                                   CERTIFICATE OF SERVICE

        I certify that on October 9, 2015, I filed Defendants’ Response in Opposition to

Plaintiff’s Motion for Expedited Discovery with the Clerk of Court using the CM/ECF

system, which will send notification of the filing to all registered parties.



                                                   /s/ Doreen Canton




                                              5
13591233.1
